Case 1:12-CV-OO758-.]AP-ACT Document 15 Fi|e_d 10/29/12 Page 1 of 10

IN THE UNITED STATES DISTRICT CO-URT
FOR TI~IE DISTRICT OF NEW MEXICO

RIO REAL ESTATE INVESTMENT
OPPORTUNITIES, LLC, a New Mexico
limited liability company,
Plaintiff,
vs. Case Number: 1:12-cV-00'75 S-JAP-ACT

TESLA MOTORS, lN-C., a Delaware
corporation,

Defendant.
RESPONSE 'I`O DEFENDANT’S MOTION TO DISMISS
MEMORANDUM OF POINTS §§ AUTHORITIES IN SUPPORT
COMES NOW Plaintiff, by and through its attorneys`,:Lastrapes, Spangler & Pacheco,
P.A. (By: Christopher M. Pacheco and-lieeAnn .Werbelow), and for its Response to Defendant’s

Motiou to Dismiss states that Plaintiff has properly set forth claims for (l) Breach of Contract;

(II) Breach of the Covenarit of Good Faith and Fair Dealing; and (III) Fraud upon Which relief

can be granted and Defendant’s l\/Iotion to Dismiss should be jdenied and submits the following `

in support
MOTION TO DISMISS STANDARD
Defendant’s Motion to Dismiss seeks a dismissal of three of the claims asserted by
Plaintiff in its Complaint, (I) Breach of Contract; (II) Breach lo:-fthe Covenant of Good Faith and
Fair Dealing; and (l[l) Fraud. Under Rule lZ(b')(G), a complaint ma§z be dismissed for failure to
state a claim upon Which relief can be granted Fed. R. Civ. P. Rule 12@)(6). In reviewing a
motion to dismiss, a court must assume the truth of the Plaintifl"s-Well-plead factual allegations

and view them in the light most favorable to the plaintiff to -'det'ermi'ne Whether the complaint

Case 1:12-cV-OO758-.]AP-ACT Document 15 Filed 10/29/12 Page 2 of 10

contains enough facts to state a claim to relief that is plausible on its face. Ridge at Red Hawk,
L.L.C. v. Schneider, 493 F.3d 1174, 1177 (10th Cir. 2007).

Further, all factual allegations in the complaint should be accepted as true and all
reasonable inferences should be drawn in favor of the nonmoving party. Mink v. Knox, 613 F.3d
995, 1000 (l{)th Cir. 2010).

ARGUMENT
I. Breach of 'Contract.
A. The Development Agreement is an enforceable contract
The Development Agreement is a legally enforceable`contract. The Defendant contends
the Development Agreement is an “agreement to agree”. However, the language of the
Development Agreement does not support this contention The Development Agreement’s
introductory paragraph states:
This Agreement contains the principal terms With respect to the
relationship between Tesla Motors, I'nc. (“Tesla”).-a_nd Rio Real
Estate Investments, LLC (“Developer”). ..

See Development Agreement at Page l (emphasis added)..

Further, the Development Agreement states:

The parties contemplate that successor agreements will be drafted
between Plaintiff and Tesla that reflect the following terms and
effect the relationship contemplated herein. However, the parties
agree that unless and until such agreement is signed this
Agreement represents the spirit of the overall agreement and good
faith commitment by the parties to perform the obligations
described herein. "`
See Development Agreernent at Page l!'(einphasis added).

The Development Agreernent expressly states that the principal terms are set forth within

the Development Agreement. See Development Agreement at Page l. FurtherJ the parties

Case 1:12-cV-00758-.]AP-ACT Document 15 Filed 10/29/12 Page 3 of 10

acknowledge that, While they contemplate that additional agreements Will be drafted, they
expressly agree in the event such additional agreements are lnot entered into, the parties will
perform the obligations set forth in the Development Agreement. See Development Agreement
at Page l, Successor Agreement.

The parties agreed upon all of the essential terms of the ._a lease for the Facility within the
Developrnent Agreement, including the location, the plans for the ii'acility, a minimum of term
ten years and the rental rates. See Development Agreement. n

In support of its contention that the Development Agreement is not a contract, Defendant
sets forth several bullet points of contingencies which are contained within the Development
Agreement. See Motion to Dismiss at -P'ages 8-9. Defendant appears to be contending that
because there are contingencies within the Development Agreement, the parties did not intend
the Development Agreement to be a contract and thus it is not enforceable The fact that a
contract has contingencies does not limit its enforceability See Republz'c Ncrt. Life InS. Co. v.
Red Lz'on Homes, Inc., 704 F.Zd 484, 406 '(lOth Cir. 1983). ` l

Defendant likens the Development Agreement to a non-binding letter of intent, such as in
a real estate purchase transaction A letter of intent sets forth certain terms, but generally
expressly provides that it is non-binding The Development Agreement is titled as an agreement
and referenced as an agreement throughout There is no language that supports that the
Development Agreement is merely a letter of intent, non-binding or an agreement to agree. The
Development Agreement, unlike a non-binding letter of intent, actually contemplates that if no
additional agreements are si gned, the Development Agreelnent'.repiesents the agreement between

the parties. lnstead, the Development dgreenient is parallel to api_irchase agreement in a real

estate land transaction A typical purchase agreement sets forth that the parties Will enter into 7

Case 1:12-cV-00758-.]AP-ACT Document 15 Filed 10l29/12 Page 4 of 10

additional documents at some future closing date, for example a deed. A deed is necessary to
effectuate the deal between the parties, i,e_. the transfer of the property from seller to buyer.
However, that the deed is not drafted, agreed to and executed at the t1me of signing of a purchase
agreement does not render the purchase agreement void or unenforceable After all contingences
are met, if either a seller or buyer attempts to back out of apurchase agreement, a breach of
contract claim exists', despite the fact that all documents contemplated by the parties as necessary
to effectuate the transfer and closing were not complete The instant case presents the same
scenario, it is Plaintiff’s assertion that the contingencies which Were necessary for Defendant to
enter into the Lease were satisfied and thus, by failing to enter into the Lease, Defendant’s
breached their obligations under the Development Agreement-. z Whet_her or not the contingencies
were actually met is a question of fact to be determined at trial. `

Under New Mexico law, whenever there is conflicting evidence, whether an offer and
acceptance existed are questions of fact.. Shively v, Santa Fe Preparatory School, Inc., 21
Fed. Appx 875, 878 (10th Cir. 2001). When the existence of a contract is at issue and the
evidence is conflicting or permits more than one inference, it is for the finder of fact to determine
whether the contract did in fact exist. Talbott v. Roswell Hospital Corp. , 2005-NMCA-109, 1112,
138 N.M. 189, 193, 118 P.3d 194, 198. The Development Agreement consists of approximately
eight pages laying out the understanding and agreement between the parties with regard to the
Facility, the Project, the Lease and its terms, and each party’s obligation to one another. lt is a
reasonable inference that the Development Agreement represents a contract setting forth the
understanding and agreement between the parties, and such:_.'understanding and agreement is

binding. Therefore, a motion to dismiss is hot proper.

Case 1:12-cV-00758-.]AP-AC.T_,,Document 15 Filed 10/29/12 Page 5 of 10

B. The Complaint contains a short and plain statement of the breach of contract
claim evidencing that Plaintijj” is entitled to relief therefore, éPlaintijj” met the applicable
standard andproperij) pled a claim for»breach of contract _, ~ '- ll

Defendant contends that Plaintiff failed to properly plead itsbreach of contract claim. To
be properly pled, a complaint must evidence a short and plain statement of the claim showing
that the pleader is entitled to relief. Fed.R.Civ.P. Rule 8. Here,.`_Count l of the complaint for
breach of contract meets this standard y ` ` l l l

Plaintiff7 s Complaint, in applicable part, alleges that Plaintiff.and Defendant entered into
a Development Agreement dated February 19, 2007, a copy of the Development Agreement is
attached to the Complaint as EXhibit A. See Complaint at ill In accordance with the
Development Agreement, Plaintiff was-ito:.ic:onstruct a 150,000l square.\_:foot facility (the “Faciiity”)
for the use of manufacturing electronic vehicles (the “Project”).'.::ii§:'ee Complaint at 118 The
Defendant was to lease the Facility for a period of ten (10) years. See Complaint at 119. The
Development Agreement sets forth the rental amounts for the`_F_acility and bonuses that were
agreed upon for the Project. See Complaint at 1[1[10 and '1'1,.` Defendant failed to enter into a
lease for the Facility and pay the agreed upon rents. See Complaint at 1115 and 20. Plaintiff
expended funds for soil tests', obtained governmental approvals, designed and engineered parts of
the Project, obtained commitments for governmental funding and otherwise satisfied its
obligations under the Development Agreement, See Complaint_'at 11 14. Plaintiff suffered
damages as a result of Defendant’s breac`h. See Complaint at 1[1116 and 22.

Under New Mexico law, a complaint on a breach of contract must allege (l) existence of
a valid and binding contract; (2) Plaintiff’ s_ compliance with the contract and performance of its

obligations thereunder; (3) a general averment of the performance‘_`:of any condition precedent;

Case 1:12-cV-00758-.]AP-ACT Document 15 Filed 10/29/12 Page 6 of 10

and (4) damages suffered as a result of ldefendant’s breach Mcccislancl, v. Prather, 92 N.M.
192, 194, 585 P.2d 336, 338 (l978). Plaintiff s Complaint alleges:
(1) The Development Agreement is a binding and enforceable contract See
Complaint at 1i18; h
(2) Plaintiff expended funds for soil tests, obtained governmental approvals,
designed and engineered parts of the Project, obtained commitments for
governmental funding and otherwise satisfied its obligations under the
Development Agreement. _See Complaint at s 11 141 Plaintiff undertook the
performance of its obligations under the Development Agreement. See
Complaint at ii 19;
(3) Defendant abandoned the development of the i’roject, breached its obligation to
§ enter into a lease agreement and failing to pay"the:re_ntal amounts agreed to under
the Development Agreement, and otherwise 'bi;eached the Development
Agreement. See Complaint at il 20. Defendant’s actions were a breach of the
Development Agreement. See Complaint at 1[ 22§ and
(4) As a direct and proximate_;cause of Defendant"s breach, Plaintiff has suffered and
continues to stiffer general, special and consequential}damages. See Complaint at
il 22.
Each of the elements of breach of contract was properly pled by Plaintiff with a short and
plain statement of the claim showing that-the pleader is entitled to relief Pleadings are intended
to serve as a means of arriving at fair and just settlements of controversies between litigants and

should not raise barriers which prevent the achievement of that end. Stewart-Warner Corp. v.

Lincoln Engineering Co. of[llinois, 22 F.Supp. 585, 587 (D.C.Ill. 1938).

 

Case 1:12-cV-00758-.]AP-ACT Document 15 Filed 10/29/12 Page 7 of 10

Defendant contends that the Motion to Dismiss should'be granted because Plaintiff"s
allegations to support its claim for breaoh of contract are`insufiioi_'bnt on its face. Motion to
Dismiss at Page 10. Defendant also expressly contends that Plaintiff failed to assert in the
Complaint that the contingencies contained within the Development Agreement were satisfied
Plaintiff expressly pled that “Plaintiff expended funds for soil tests, obtained governmental
approvals, designed and engineered parts of the Project, obtained commitments for governmental
funding and otherwise satisfied its obligations under the Development Agreemen .” See
Complaint at Paragraph 14. A court should not grant a motion to dismiss merely because the
complaint does not state with precision every element of then offence necessary for recoveryl
Frieclman v. City of Overlanci 935 F. Supp. 1015, 1017 (E.D.hllo.1996). A generalized
summary of the case that affords fair notice is all that is required Rogers v. Dwight, 145 F.
Supp. 537, 538 (D.C. Wis. 1956). Under the ‘notice’ theory of pleading it is immaterial whether
a pleading states ‘conclusions' or ‘facts'- as_long as fair notice-is given Ir;l. Plaintiff, in pleading
its breach of contract claim, has far exceeded the minimum standafd required by Fed.R.Civ.P.
Rule 8 and FedR.Civ.P. Rule 12(b).

011 a motion to dismiss for failure to state a claim upon_which relief may be granted, the
issue in not whether plaintiff will ultimately prevail, but whether'plaintiff is entitled to offer
evidence to support its claim. Johnson Coanty Airport Cm’n v Parslbnitt Co., Inc., 916 F.Supp.
1090, 1092 (D. Kan. 1996). The threshold that a complaint must meet to survive a motion to
dismiss for failure to state a claim is “exceedingly low”. Banike V. Alabama Bci. OfNursing
State ofAla. 871 F.Supp. 1437, 1438 (M.D_. Ala. 1994). Plaintiff has_properly pled its breach of

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contract claim and dismissal is not proper.

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ease 1:12-cv-oo?ss-JAF>-Ac':'T7 `Documem 15 "Filed mize/12 Page s of 10

II. Breach of the Covenant of Good Faith and Fair Dealing

Plaintiff has adequately pled its breach of contract claim and thus the claim for breach
of the covenant of good faith and fair dealing is proper should not be dismissed

Defendant’s only support for its contention that Countl IV, Breach of the Covenant of
Good Faith and Fair Dealing, of the Clomplaint should be dlsmlssed ls that without a claim for
breach of contract Plaintiff has no cause of action of breached of implied covenant of good faith
and fair dealing. However, Plaintiff’s claim for breach of contract was properly pled Plaintiff
has plead (1) Defendant has an implied duty of good faith and fair dealing to Plaintiff under the
Development Agreement. See Complaint at 1137; (2) Defendant acted 1n bad faith by purposely
failing to enter into the Lease, failing to complete the Project, and abandoning the Project. See
Complaint at 113 8; and (3) As a proximate result of Defendant’s breach of duty of good faith and
fair dealing, Plaintiff has suffered and will continue to suffer general, special and consequential
damages See Complaint at 1139. Under Ne`w Mexico law, whether express or not, every contract
imposes upon the parties a duty of good faith and fair dealiri:gI in its performance and
enforcementl Cilj) of Raton v. Arkansas River Power Authority, 611 F.Supp.2d 1190, 1199
(D.N.M. 2008). Whether there has been a breach of the covenants of good faith and fair dealing
is a factual inquiry that focuses on the contract and what the parties agreed to. G'ilmore v.
Duderstadt,1998-NMCA-086,112',2 125, N. l\/l. 330, 337, 961 P. 2d 175,182.T11erefore given
Plaintiff properly pled its breach of contract claim, its claim for breach of the covenant of good

faith and fair dealing is proper and should not be dismissed

Case 1:12-cV-00758-.]AP-AC-T _._Document 15 F-i|ed 10[29/12 Page 9 of 10

III. E_I;€_gy_d

Plaintijj"s Count III, Fraud, of the Complaint compliediwith the requirements ofRale
9(b). " l

ln alleging fraud, a party must state with particularity the circumstances constituting
fraud Fed.R.Civ.P. Rule 9(b). Malice, intent, knowledge, and other conditions of a person’s
mind may be alleged generally. Id. Plaintiff alleges that Defendant§‘-represented to Plaintiff that
it would lease the Facility and operate an electronic vehicle manufacturing plant on the Property.
See Complaint at 11 24. Specifically, during 2007 and 2008, Defendant engaged in substantial
meetings and planning regarding the Project. See Complaint at:112_5. The actions of Defendant in
intentionally concealing their intent to abandon the project after,: over a year of perpetual
preparations constitute fraud The circumstances under which Defendant perpetrated fraud on on
Plaintiff were plead with pa1ticularity in accordance with Fed.R.Civ.P. Rule 9(1)).

WHEREFORE, Plaintiff respectfully requests that this Court:

A. Deny Defendant’s Motiori to Dismiss; l 4 l

B. Award Plaintiff its attorney fees and costs incurred in responding to the l\/lotion to
Dismiss', and

C. Grant any additional relief as the Court deems proper.

Respectfully submitted,

LASTRAPES, SPANGLER & PACHEC(), P.A.

 

By: "" ,
Christopher M. Pac_heco
LeeAnn Werbelow

 

ease 1:12-cv-00753-JAP-ACT'-

l hereby certify that a true and
correct copy of the foregoing was
mailed to all parties entitled to notice
this 29th day of October, 2012.

 

 

Documem 15 Filed 10/-?9/12 Page 10 of 10

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10

